           Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 1 of 33




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 1:21-cr-00729-RBW
               v.                            :
                                             :
BRENT JOHN HOLDRIDGE,                        :
                                             :
                      Defendant.             :


                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
            MOTION FOR TRANSFER OF VENUE OR EXPANDED VOIR DIRE

       Defendant Brent John Holdridge, who is charged in connection with events at the U.S.

Capitol on January 6, 2021, has moved to transfer venue in this case to “another district,” or for

expanded examination of prospective jurors. ECF No. 36. The defendant fails to establish that he

“cannot obtain a fair and impartial trial” in this district, Fed. R. Crim. P. 21(a), and this Court

should deny his motion. 1    The defendant alternatively requests that the Court distribute to

prospective jurors a questionnaire prepared by the defense. The Court should deny that request

too.

                                        BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.



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          Every judge on this Court to have ruled on a motion for change of venue in a January 6
prosecution has denied the motion. See United States v. Williams, No. 21-cr-377 (June 10, 2022)
(Minute Entry) (BAH); United States v. Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr. 18,
2022) (APM); United States v. Alford, 21-cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC);
United States v. Brooks, No. 21-cr-503, ECF No. 31 (D.D.C. Jan. 24, 2022) (RCL); United States
v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893 (D.D.C. Jan. 12, 2022) (RDM); United States
v. Fitzsimons, No. 21-cr-158 (D.D.C. Dec. 14, 2021) (Minute Order) (RC); United States v. Reffitt,
No. 21-cr-32 (D.D.C. Oct. 15, 2021) (Minute Order) (DLF); United States v. Caldwell, 21-cr-28,
ECF No. 415 (D.D.C. Sept. 14, 2021) (APM).


                                                 1
           Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 2 of 33




Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       On that day, the defendant arrived at the U.S. Capitol from the west side and observed the

plastic fencing and barricades erected on the Capitol Grounds, as well as law enforcement officers

dressed in full riot gear. The defendant nevertheless entered the Capitol Grounds and at one point

climbed atop the railing at the north exterior staircase to the Upper West Terrace and waved a flag

bearing the “Punisher” logo while other rioters scaled the concrete wall and climbed over the

railing directly at his feet. The defendant then entered the Capitol Building without authority and

walked throughout the north and northwest portions of the building. In total, the defendant spent

more than three and a half hours walking throughout the Capitol Building and Grounds on January

6, 2021.

       Based on his actions on January 6, 2021, the defendant was charged with violations of 18

U.S.C. §§1752(a)(1) & (2) (unlawful entry and disorderly or disruptive conduct in restricted

buildings or grounds), and 40 U.S.C. §§ 5104(e)(2)(D) & (G) (disorderly or disruptive conduct in

Capitol Buildings or Grounds and illegal parading, demonstrating, or picketing in Capitol

Buildings). ECF No. 25 (Superseding Information).

       The defendant now moves for a change of venue. ECF No. 36. He contends that prejudice

should be presumed in this district for five primary reasons: (1) the political makeup and size of

the District of Columbia jury pool; (2) the impact of January 6 on Washington, D.C., (3) the results

of surveys of potential jurors, (4) the results of a media analysis conducted by Select Litigation,




                                                 2
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 3 of 33




and (5) pretrial publicity surrounding the events of January 6. Each of the defendant’s arguments

is without merit, and the motion should be denied.

                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).




                                                    3
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 4 of 33




I.     The District of Columbia’s Political Makeup and Size Do Not Support a Presumption
       of Prejudice.

       The defendant contends that he cannot obtain a fair trial in the District of Columbia because

more than 92% of its voters voted for President Biden in the 2020 Presidential Election. EFC 36

at 7-8. The en banc D.C. Circuit rejected a nearly identical claim in Haldeman, where the dissent

concluded that a venue change was required because “Washington, D.C. is unique in its

overwhelming concentration of supporters of the Democratic Party” and the Democratic candidate

received 81.8% and 78.1% of the vote when Nixon ran for President in 1968 and 1972,

respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring in part and dissenting in

part). The majority rejected the relevance of this fact, observing that authority cited by the dissent

gave no “intimation that a community’s voting patterns are at all pertinent to venue.” Id. at 64

n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C. Cir. 1975) (rejecting the

argument that “because of [the defendant’s] connection with the Nixon administration and his

participation in a ‘dirty tricks’ campaign aimed at Democratic candidates and with racial

overtones, a truly fair and impartial jury could not have been drawn from the District’s heavily

black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that



                                                  4
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 5 of 33




“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, and Roger Stone, have been tried in the District. See United States v. Barry, 938 F.2d 1327

(D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991); United States v.

North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F. Supp. 2d 1

(D.D.C. 2007); United States v. Stone, No. 19-CR-0018 (ABJ), 2020 WL 1892360 (D.D.C. Apr.

16, 2020). Indeed, the Court in Stone rejected the argument that jurors “could not possibly view

[Roger Stone] independently from the President” because of his role in the presidential campaign

or that “if you do not like Donald Trump, you must not like Roger Stone.” 2020 WL 1892360, at

*30-31. Similarly here, the fact that most District residents voted against Donald Trump does not

mean those residents could not impartially consider the evidence against those charged in

connection with the events on January 6.

       Nor does it matter, as the defendant contends, that D.C. “is one of the smallest and

geographically compact federal judicial district[s].” ECF No. 36 at 5. Although this District may

be smaller than most other federal judicial districts, it has a larger population than two states

(Wyoming and Vermont). And the relevant question is not whether the District of Columbia is as




                                                  5
           Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 6 of 33




populous as the Southern District of Texas in Skilling, but whether it is large enough that an

impartial jury can be found. In Mu’Min v. Virginia, 500 U.S. 415, 429 (1991), the Court cited a

county population of 182,537 as supporting the view than an impartial jury could be selected. And

Skilling approvingly cited a state case in which there was “a reduced likelihood of prejudice”

because the “venire was drawn from a pool of over 600,000 individuals.” Skilling, 561 U.S. at 382

(quoting Gentile v. State Bar of Nev., 501 U.S. 1030, 1044 (1991)). There is simply no reason to

believe that, out of an eligible jury pool of nearly half a million, “12 impartial individuals could

not be empaneled.” Id.

II.    The Impact of January 6 on Washington D.C. Does Not Support a Presumption of
       Prejudice.

       The defendant contends that a D.C. jury could not be impartial because D.C. residents have

been particularly affected by events surrounding January 6, including the deployment of the

National Guard, the mayor’s declaration of a state of emergency, road closures, and a curfew. ECF

No. 36 at 5-8. 2 But January 6 is now almost a year and a half in the past, and many D.C. residents

do not live or work near the Capitol where the roads were closed and the National Guard was

deployed. There is no reason to believe that the District’s entire population of nearly 700,000

people (more than half a million voting-aged residents, as the defendant states) was so affected by

these events that the Court cannot seat an impartial jury here.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing);




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         According to the sources cited by the defendant on page 6 of his motion, a citywide curfew
was imposed “from 6 pm on Wednesday, January 6, until 6 am on Thursday, January 7,” (12 hours)
and a state of emergency separately was declared for 15 days.


                                                 6
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 7 of 33




Skilling, 561 U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003)

(1993 World Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612, 613 (4th Cir.

2002) (per curiam) (unpublished) (September 11, 2001 attacks, including on the Pentagon). In

Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of victims” in the

Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (quotation

omitted). “Although the widespread community impact necessitated careful identification and

inspection of prospective jurors’ connections to Enron,” the voir dire was “well suited to that task.”

Id. In this case too, voir dire can adequately identify those D.C. residents who were so affected by

January 6 that they cannot impartially serve as jurors. There is no reason to presume prejudice.

       The defendant’s reliance (ECF No. 36 at 8) on the Oklahoma City Bombing case, United

States v. McVeigh, 918 F. Supp. 1467 (W.D. Okla. 1996), is unavailing. That case involved the

mass-murder of “168 identified men, women and children,” as well as “injuries to hundreds of

other people, the complete destruction of the Alfred P. Murrah Federal Office Building and

collateral damage to other buildings, including the United States Courthouse.” 918 F. Supp. at

1469. “A damage assessment prepared for the Office of State Finance, The State of Oklahoma,

estimated the total incident cost at $651,594,000.” Id. And the prosecution resulted in the recusal

of Oklahoma’s federal district judges. Nichols v. Alley, 71 F.3d 347, 349 (10th Cir. 1995) (per

curiam). In explaining its reasoning for transferring venue in McVeigh, the court referenced the

“the deaths of infants and very young children,” and “the symbols of teddy bears and angels

displayed everywhere in Oklahoma.” McVeigh, 918 F. Supp. at 1472. McVeigh further is

distinguishable by the fact that there, the jury would be required to decide, upon a finding of guilty,

whether a sentence of death was justified. Id. at 1474. The same concerns simply are not present

here. Although the January 6 riot was egregious, the defendant is not accused of murdering infants




                                                  7
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 8 of 33




and young children, and he does not face the death penalty or even a felony charge. In short, the

justifications for transferring venue in McVeigh do not apply in the present case.

III.   The Polls Submitted by the Defendant Do Not Support a Presumption of Prejudice.

       Defendant relies on two polls conducted at the request of defendants in other cases. ECF

No. 36-1 and 36-2 (Exhibits A and B to defendant’s motion). First, he relies on a telephone poll

conducted by In Lux Research (“ILR”) of potential jurors in the District of Columbia and in three

other jurisdictions: the Ocala Division of the Middle District of Florida, the Eastern District of

North Carolina, and the Eastern District of Virginia. Second, he relies on a telephone poll

conducted by Select Litigation, a private litigation consulting firm, of potential jurors in the

District of Columbia and in the Atlanta Division of the Northern District of Georgia. Neither of

these polls supports a change of venue.

       A.      Courts have repeatedly declined to find a presumption of prejudice based on
               pretrial polling without conducting voir dire.

       The defendant argues that this Court should find a presumption of prejudice based on polls

of prospective jurors. But “courts have commonly rejected such polls as unpersuasive in favor of

effective voir dire as a preferable way to ferret out any bias.” United States v. Causey, 2005 WL

8160703, at *7 (S.D. Tex. 2005). As one circuit has observed, the Supreme Court’s emphasis on

the important role of voir dire in addressing pretrial publicity “undercuts” the “argument that poll

percentages . . . decide the question of a presumption of prejudice.” In re Tsarnaev, 780 F.3d 14,

23 (1st Cir. 2015) (per curiam); see Mu’Min v. Virginia, 500 U.S. 415, 427 (1991) (observing that,

“[p]articularly with respect to pretrial publicity, . . . primary reliance on the judgment of the trial

court makes good sense”).

       Indeed, the D.C. Circuit has rejected a claim of presumed prejudice based on the results of

a pre-voir dire survey.     Haldeman, 559 F.2d at 64.          In Haldeman, seven former Nixon



                                                  8
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 9 of 33




administration officials (including the former Attorney General of the United States) were

prosecuted for their role in the Watergate scandal. Id. at 51. According to a poll commissioned

by the defense in that case, 93% of the Washington, D.C. population knew of the charges against

the defendants and 61% had formed the opinion that they were guilty. Id. at 144, 178 n.2

(MacKinnon, J., concurring in part and dissenting in part). Recognizing that the case had produced

a “massive” amount of pretrial publicity, id. at 61, the D.C. Circuit nevertheless held that the

district court “was correct” to deny the defendants’ “pre-voir dire requests for . . . a change of

venue,” id. at 63-64. The court observed that the district court “did not err in relying less heavily

on a poll taken in private by private pollsters and paid for by one side than on a recorded,

comprehensive voir dire examination conducted by the judge in the presence of all parties and

their counsel.” Id. at 64 n.43; see Jones, 404 F.2d at 1238 (observing that it is “upon the voir dire

examination,” and “usually only then, that a fully adequate appraisal of the claim [of local

community prejudice] can be made” (quotation omitted)).

       Other circuits have similarly rejected attempts to elevate polling results over voir dire. In

United States v. Campa, a pre-trial survey found that 69% of respondents were prejudiced against

anyone charged with spying on behalf of Cuba, as the defendants were. Campa, 459 F.3d at 1157

(Birch, J., dissenting). The en banc Eleventh Circuit affirmed the denial of a motion for change of

venue, explaining that “[w]hen a defendant alleges that prejudicial pretrial publicity would prevent

him from receiving a fair trial, it is within the district court’s broad discretion to proceed to voir

dire to ascertain whether the prospective jurors have, in fact, been influenced by pretrial publicity.”

Id. at 1146 (majority opinion).

       Similarly, in United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that

99 percent of respondents had heard about the brutal rape and murder with which the defendant




                                                  9
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 10 of 33




was charged, nearly 88 percent of those respondents believed he was guilty, and about 42 percent

of respondents had a strongly held opinion of his guilt. Id. at 786; Brief for the Appellant, United

States v. Rodriguez, No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth

Circuit found no presumption of prejudice, observing that a district court was not required “to

consider public opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at

786. And the court held that, in any event, the poll did not “demonstrate widespread community

prejudice” because the “media coverage had not been inflammatory,” two years had passed since

the murder, and “the district court concluded that special voir dire protocols would screen out

prejudiced jurors.” Id.

       There are good reasons to rely on voir dire, rather that public-opinion polls, when assessing

whether prejudice should be presumed. First, polling lacks many of the safeguards of court-

supervised voir dire, including the involvement of both parties in formulating the questions.

Surveys that are not carefully worded and properly conducted can produce misleading results, such

as by asking leading questions or providing the respondents with facts that will influence their

responses. See Campa, 459 F.3d at 1146 (noting problems with “non-neutral” and “ambiguous”

questions). Second, polling lacks the formality that attends in-court proceedings under oath, and

it does not afford the court the “face-to-face opportunity to gauge demeanor and credibility.”

Skilling, 561 U.S. at 395. Third, polls ordinarily inform the court only the extent to which

prospective jurors have heard about a case and formed an opinion about it. But that is not the

ultimate question when picking a jury. A prospective juror is not disqualified simply because he

has “formed some impression or opinion as to the merits of the case.” Irvin v. Dowd, 366 U.S.

717, 722 (1961). Instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and

render a verdict based on the evidence presented in court.” Id. at 723. But pre-trial surveys are




                                                 10
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 11 of 33




poorly suited to answering that ultimate question, which is best asked in the context of face-to-

face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (observing

that the trial judge’s function in voir dire “is not unlike that of the jurors later in the trial” because

“[b]oth must reach conclusions as to impartiality and credibility by relying on their own

evaluations of demeanor evidence and of responses to questions”).

        In sum, federal courts have shown an overwhelming preference for assessing prejudice

through court-supervised voir dire rather than through public opinion polls. And the defendant

has not offered any reason to depart from that usual practice here. Thus, this Court need not give

substantial weight to the polling when considering whether to presume prejudice.                 But, as

explained below, the polls submitted by the defendant do not support a presumption of prejudice

in any event.

        B.      The In Lux Research poll does not demonstrate pervasive prejudice in the
                District of Columbia.

        Contrary to the defendant’s contention, the In Lux Research (“ILR”) poll does not support

a presumption of prejudice in this District. As an initial matter, the defendant has not requested

transfer to any of the ILR survey’s three comparator jurisdictions—the Ocala Division of the

Middle District of Florida, the Eastern District of North Carolina, and the Eastern District of

Virginia. Instead, the defendant has requested a transfer generically to “another district.” The ILR

survey tells the Court nothing about the views or media exposure of prospective jurors in any

district other than the three listed above, which the defendant has not suggested as more suitable

districts.

        Furthermore, to the extent the poll is useful at a more general level in comparing the District

of Columbia to other districts, the poll demonstrates that that respondents in all four jurisdictions




                                                   11
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 12 of 33




surveyed were aware of the events of January 6 at similar rates. ECF No. 36-1 at 24 3 (Question

1) (93.12% of D.C. respondents “aware of” the demonstration at the U.S. Capitol, compared to

94.07% in Middle Florida, 91.60% in Eastern North Carolina, and 94.27% in Eastern Virginia).

The survey also shows that respondents’ media or conversational exposure to the events of January

6 did not vary significantly between jurisdictions. The survey asked respondents how often they

“see, read or hear about the events of January 6th from either the Media, Local Leaders or the

people around you.” ECF No. 36-1 at 21 (Question 4). The percentage of respondents reporting

“[a]t least 10 times a week” was only slightly higher in D.C., with a response rate of 32.02%,

compared to rates between 25% and 28% in the other three jurisdictions. ECF No. 36-1 at 24.

And the percentage of D.C. respondents answering “[s]everal times a week” or “[o]nce or twice a

week” were generally within one or two percentages points of respondents from other jurisdictions.

Id. (41.09% of D.C. respondents reported exposure “[s]everal times a week,” compared to 39.82%,

39.30%, and 34.58% in the other jurisdictions, and 22.05% of D.C. respondents reporting exposure

“[o]nce or twice a week,” compared to 20.66%, 22.68%, and 23.99% in the other jurisdictions).

The survey thus confirms that exposure to reports of the events of January 6 is not confined to

D.C., and the relatively small different does not suggest that news coverage has made it impossible

to pick an impartial jury in Washington, D.C.

       The ILR survey’s summary focuses on responses to “prejudicial prejudgment” questions.

ECF No. 36-1 at 2. But those questions do not show that an impartial jury cannot be selected in

this District. The questions categorized as “prejudgment questions” were:



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         References to the page numbers of defendant’s Exhibits A and B correspond to the pages
of the Exhibits themselves, and do not include the cover page that is part of each PDF document.
For example, a citation to ECF No. 36-1 at 24 refers to the 24th page of the substantive exhibit,
which is the 25th page of the PDF because the first page of the PDF is the cover page created by
the defendant.


                                                12
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 13 of 33




       (1) “Are you more likely to find a defendant charged with crimes for activities on January

           6th guilty or not guilty? Or is it too early to decide?” (72% of D.C. respondents

           answered “Guilty.”)

       (2) “In your opinion, which of the following terms best characterizes the Events of January

           6th? 1) An insurrection, 2) An attack, 3) A riot, 4) A protest that got out of control, 5)

           A rally.” (82% of D.C. respondents chose insurrection, attack, or riot.)

       (3) “Do you believe that the individuals who entered the Capitol on January 6th planned

           to do it in advance or decided to do it that day?” (71% of D.C. respondents selected

           “planned in advance.”)

       (4) “Do you believe The Events of January 6th were racially motivated?” (40% of D.C.

           respondents answered in the affirmative.)

ECF No. 36-1 at 2-3, 8, 21-22. The last three of these questions do not support a presumption of

prejudice because they have little relevance to the potential issues at trial. The trial in this case

would not require jurors to determine whether the events of January 6 were an “insurrection,” an

“attack,” a “riot,” or a “protest that got out of control.” Indeed, no defendant has been charged

with the offense of insurrection, 18 U.S.C. § 2383, or of violating the Anti-Riot Act, 18 U.S.C.

§ 2101, in connection with the events of January 6.

       Nor would the charges in this case require the jurors to determine whether the defendant

“planned in advance” to enter the Capitol or whether the crimes were “racially motivated.” The

fact that some D.C. respondents have formed “prejudgments” on those questions does not

demonstrate that they cannot follow this court’s instructions and decide this case based on the law

and the evidence. And even if it did, the solution would be to exclude prospective jurors who

indicated “prejudgments” during voir dire. The ILR survey shows that some percentage of




                                                 13
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 14 of 33




respondents in all surveyed jurisdictions expressed these so-called “prejudgments.” ECF No. 36-

1 at 25 (Questions 6 and 9) (between 39% and 49% of respondents in other surveyed jurisdictions

thought entry into the Capitol was planned in advance, and between 11% and 20% believed the

events of January 6 were racially motivated). This demonstrates that a careful voir dire would be

necessary in any jurisdiction, and it fails to show that voir dire would be inadequate to weed out

biased jurors in the District of Columbia.

       Nor do the responses to the first “prejudicial prejudgment” question support a presumption

of prejudice. That question asked respondents whether, in the abstract, they were “more likely” to

find a defendant charged in connection with January 6 “guilty or not guilty.” The question failed

to ask about any specific crimes. And it failed to ask respondents whether they could keep an open

mind and decide a case based on the law and the evidence if selected as a juror. Yet the Supreme

Court has made clear that the key question in jury selection is whether a prospective juror could

“lay aside his impression or opinion and render a verdict based on the evidence presented in court.”

Irvin, 366 U.S. at 722-23.

       When focusing on whether prospective jurors could set aside their “prejudgments” and

decide a case fairly, the ILR survey’s responses actually undermine the defendant’s claim that

prejudice should be presumed in this district. When asked whether it would be “possible for [them]

to be a fair and unbiased juror for a January 6th Defendant,” ECF No. 36-1 at 23, a full 70.13% of

D.C. respondents said that they “could,” id. at 26. This number was actually higher than the

affirmative responses in the other three jurisdictions: Middle Florida (61.29%), Eastern North

Carolina (65.38%), and Eastern Virginia (69.52%). Id.

       The ILR survey’s administrator asserts that “this representation may actually indicate a

failure to recognize or admit threats to fairness and impartiality.” ECF No. 36-1 at 5. But the




                                                14
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 15 of 33




survey’s findings do not justify that assertion. The administrator claims that because D.C.

residents were more likely to characterize the events of January 6 as an “insurrection,” “attack,”

or “riot,” or to believe they were criminal, pre-planned, or racially motivated, id. at 22, 25, those

residents “demonstrate[d] an inability to identify or unwillingness to report previously disclosed

bias when asked if they could be a fair and impartial juror,” id. at 5. But this assumes, contrary to

clear decisions from the Supreme Court, that any knowledge of or preconceived opinions about a

case make a juror unable to be impartial. See Reynolds, 98 U.S. at 155-56; Irvin, 366 U.S. at 723.

It also assumes that these jurors would fail to report these views to a judge during voir dire.

Particularly because the ILR survey had already asked respondents specific questions that the

survey claims showed “prejudicial prejudgment,” there is no reason to believe that D.C.

respondents were somehow unable or “unwilling[]” to report their own biases when asked if they

could be impartial.

       Moreover, when asked if their “neighbors would be fair and unbiased jurors for a January

6th Defendant,” D.C. respondents still answered “Yes” at a higher rate than the other surveyed

districts. ECF No. 36-1 at 26 (53.25% in D.C., compared to 36.57% in Middle Florida, 45.10% in

Eastern North Carolina, and 40.89% in Eastern Virginia). Thus, even when controlling for

respondents’ potential inability to discern their own biases, the survey does not indicate that D.C.

residents are substantially less able to be fair than prospective jurors from other jurisdictions. Nor

were D.C. respondents significantly more likely to worry about negative consequences to their

career or friendships if they were to “find[] a January 6th defendant Not Guilty.” Id. at 22, 26

(19.29% in D.C., compared to 17.68% in Middle Florida, 19.66% in Eastern North Carolina, and

18.56% in Eastern Virginia). The ILR survey does not support the conclusion that an impartial

jury cannot be found in Washington, D.C.




                                                 15
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 16 of 33




       C.      The Select Litigation poll does not demonstrate pervasive prejudice in the
               District of Columbia.

       Contrary to the defendant’s contention, the Select Litigation poll does not support a

presumption of prejudice in this District. Again, the Select Litigation poll selected only one

comparator jurisdiction—the Atlanta Division of the Northern District of Georgia—and the

defendant has not identified that district as a better alternative. Furthermore, the poll indicates that

levels of media exposure to the events of January 6 are not significantly different in Atlanta than

in Washington, D.C. The number of respondents who had seen “[a] lot” of coverage in each

jurisdiction differed only by three percentage points (33% in D.C. versus 30% in Atlanta), which

is within the margin of error. ECF No. 36-2 at 1-2, 14. The number of respondents who had seen

“[s]ome” coverage was exactly the same (25% in both jurisdictions), and the number who had seen

“[q]uite a bit” of coverage was not significantly different (28% in D.C. versus 20% in Atlanta).

Id. at 14. The total percentage of respondents who were exposed to “[a] lot,” “[q]uite a bit,” or

“[s]ome” news coverage was 86% in Washington, D.C. and 75% in Atlanta. Id. at 14. This

relatively small difference does not suggest that news coverage has made it impossible to pick an

impartial jury in Washington, D.C.

       The defendant points out (ECF No. 36 at 12) that 71% of respondents in D.C. said they had

formed the opinion January 6 arrestees were “guilty” of the charges brought against them. See

ECF No. 36-2 at 14. The survey failed, however, to identify (much less define) any of the charges

brought against the defendant. It also failed to provide respondents with the option of saying they

were “unsure” about guilt, even though such an option is required by professional standards that

apply in this area. See American Society of Trial Consultants, Professional Standards for Venue

Surveys at 9, available at https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf

(“Respondents must be made aware that they can say they do not know or have no opinion.”). The



                                                  16
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 17 of 33




survey instead gave respondents a binary choice between “guilty or not guilty.” ECF No. 36-2 at

14. Yet even without being provided the appropriate options, 26% of D.C. respondents voluntarily

gave an answer of “Depends” or “Don’t know/Refused.” Id. This shows that, even in response to

a poorly worded question, more than a quarter of the District’s residents realized the need to keep

an open mind about guilt.

       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to

the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only

after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id. Here, by

contrast, respondents were not provided a “don’t know” option, were not reminded of the

presumption of innocence, and were asked only whether they thought the “several hundred people”

arrested in connection with January 6 were “guilty.” ECF No. 36-2 at 14 (Questions 3, 4).

       When asked about guilt in the context of a criminal trial, however, respondents in the Select

Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked them to

“[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities on

January 6” and then asked whether they were “more likely to vote that the person is guilty or not




                                                17
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 18 of 33




guilty.” ECF No. 36-2 at 14. In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people . . . arrested,” nearly half of D.C. residents were committed

to keeping an open mind—even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice

than was present in Haldeman.

       Nor should prejudice be presumed because a substantial numbers of respondents “would”

describe “the people who forced their way into the U.S. Capitol” as “[t]rying to overturn the

election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection” (76%), or “[t]rying

to overthrow the U.S. government” (72%). ECF No. 36-2 at 15. For one thing, this question asked

specifically about those who “forced their way into the U.S. Capitol,” which suggests a higher

degree of culpability than simply entering the Capitol. For another, the poll did not provide an

“undecided” option but asked only whether respondents “would” or “would not” use those

descriptions. Id. Nor did the question define the offenses of “insurrection” or advocating the

overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses with which no defendant has

been charged in connection with January 6. And, most importantly, the poll did not answer the

key question: whether a sufficient number of prospective jurors can “lay aside [their] impression[s]

or opinion[s] and render a verdict based on the evidence presented in court.” Irvin v. Dowd, 366

U.S. 717, 723 (1961); see Patton v. Yount, 467 U.S. 1025, 1029 (1984) (no presumption of

prejudice where nearly 99% of prospective jurors had heard of the case and 77% indicated on voir

dire that “they would carry an opinion into the jury box”). In short, the Select Litigation poll does

not come close to demonstrating that “12 impartial individuals could not be empaneled” in




                                                 18
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 19 of 33




Washington, D.C. Skilling, 561 U.S. at 382.

        In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on pretrial

polling and media analyses. As in Haldeman, there is “no reason for concluding that the population

of Washington, D. C. [i]s so aroused against [the defendant] and so unlikely to be able objectively

to judge [his] guilt or innocence on the basis of the evidence presented at trial” that a change of

venue is required. Haldeman, 559 F.2d at 62.

IV.     The Select Litigation Media Analysis Does Not Support a Presumption of Prejudice.

        The defendant also incorrectly contends that the media analysis conducted by Select

Litigation supports a presumption of prejudice. ECF No. 36 at 9-10. The analysis shows that, in

nine of the 13 months analyzed, the Washington Post ran more news stories about January 6 than

did the Atlanta Journal-Constitution. ECF No. 36-2 at 9. Again, as with the Selection Litigation

poll, this analysis does not focus on any venue other than the Atlanta Division of the Northern

District of Georgia, and therefore provides little insight into the media exposure of prospective

jurors in any other district.

        Moreover, for several reasons, these numbers do not demonstrate that media exposure was

significantly different in Atlanta than in Washington, D.C. First, the comparison fails to account

for the comparative sizes and circulations of the two newspapers. It should not be surprising that

a large national newspaper would print more articles on the same topic than a regional newspaper.

Second, the analysis does not account for the fact that many Americans receive their news from

national sources such as CNN or Fox News, often filtered through social media. Thus, prospective

jurors in both Washington, D.C. and Atlanta are not limited to their local newspapers and television




                                                 19
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 20 of 33




broadcast stations and may well have been exposed to much of the same media coverage. Third,

simply counting the number of news articles in a given source is not a good way to measure

prospective jurors’ media exposure. Indeed, the Select Litigation poll shows comparatively small

variations in media exposure between Washington, D.C. and Atlanta. According to that poll, 99%

of D.C. respondents were aware of the January 6 demonstrations, compared to 93% in Atlanta, and

33% of D.C. respondents had seen “A lot” of coverage, compared to 30% in Atlanta. Id. at 13-14.

Like the Watergate scandal at issue in Haldeman, the storming of the Capitol on January 6, 2021,

was “not a local crime of peculiar interest to the residents of the District of Columbia” but one that

generated national interest. Haldeman, 559 F.2d at 64 n.43.

       The Select Litigation analysis also concludes that “the number of hits from internet sites

based in the District of Columbia area was four times higher than the comparable number of hits

from sites based in the Atlanta area.” ECF No. 36-2 at 9. But the analysis includes no information

about where these hits came from. Many of the hits on D.C.-based news sources likely came from

readers outside the District itself, such as readers in the Northern Virginia and Maryland suburbs

or readers from other parts of the country who were directed to D.C.-based news reporting on

social media. A reader in California, for example, would be far more likely to read about January

6 on the Washington Post than on the Atlanta Journal-Constitution.               Without additional

information, this analysis of Internet hits is essentially meaningless.

       The Select Litigation analysis also is unhelpful because it considered only the coverage of

January 6 in general, as opposed to the coverage of the defendant, Brent John Holdridge. Mr.

Holdridge is one of more than 800 defendants charged in connection with January 6, and only a

tiny fraction of the media coverage has focused on him. Indeed, the coverage of Mr. Holdridge is

far less significant than in Skilling, where the Houston Chronicle “mentioned Enron in more than




                                                 20
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 21 of 33




4,000 articles during the 3-year period following the company’s December 2001 bankruptcy” with

“[h]undreds of these articles discussing Skilling by name.” Skilling, 561 U.S. at 428 (Sotomayor,

J., concurring in part and dissenting in part).

       Finally, the media analysis fails to support a presumption of prejudice because mere

exposure to pretrial publicity does not disqualify a potential juror.         “Prominence does not

necessarily produce prejudice, and juror impartiality . . . does not require ignorance.” Skilling,

561 U.S. at 381. The Supreme Court has found no presumption of prejudice even when 98% of

prospective jurors had heard of the case and 77% indicated on voir dire that “they would carry an

opinion into the jury box.” Patton, 467 U.S. at 1029. The mere fact that Washington, D.C. news

outlets have run more stories about January 6 (and received more hits) than have Atlanta outlets

does not suggest that an impartial jury cannot be selected in Washington D.C.

V.     The Pretrial Publicity Related to January 6 Does Not Support a Presumption of
       Prejudice in This District.

       The defendant also contends that prejudice should be presumed based on pretrial publicity.

ECF No. 36 at 14. “The mere existence of intense pretrial publicity is not enough to make a trial

unfair, nor is the fact that potential jurors have been exposed to this publicity.” United States v.

Childress, 58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975)

(juror exposure to “news accounts of the crime with which [a defendant] is charged” does not

“alone presumptively deprive[] the defendant of due process”). Indeed, “every case of public

interest is almost, as a matter of necessity, brought to the attention of all the intelligent people in

the vicinity, and scarcely any one can be found among those best fitted for jurors who has not read

or heard of it, and who has not some impression or some opinion in respect to its merits.” Reynolds

v. United States, 98 U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived

notion as to the guilt or innocence of an accused, without more,” is insufficient to establish



                                                  21
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 22 of 33




prejudice. Irvin, 366 U.S. at 723. “It is sufficient if the juror can lay aside his impression or

opinion and render a verdict based on the evidence presented in court.” Id.

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine

a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155




                                                22
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 23 of 33




(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers

could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.

       A.      Nature of the pretrial publicity

       Nor does this case involve a “confession or other blatantly prejudicial information of the

type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561 U.S.




                                                23
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 24 of 33




at 382. Even news stories that are “not kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and

accusatory in content,” Haldeman, 559 F.2d at 61, do not alone raise a presumption of prejudice.

As in Skilling and Haldeman, the news coverage of Brent John Holdridge is “neither as inherently

prejudicial nor as unforgettable as the spectacle of Rideau’s dramatically staged and broadcast

confession.” Id. Indeed, although any media characterizations of Mr. Holdridge would be

inadmissible, the photos and videos of him that have been disseminated would be both admissible

and highly relevant at trial. Compare Sheppard, 384 U.S. at 360 (noting that information reported

by the media was “clearly inadmissible” and that “[t]he exclusion of such evidence in court is

rendered meaningless when news media make it available to the public”), with Murray v. Schriro,

882 F.3d 778, 805 (9th Cir. 2018) (“There was no inflammatory barrage of information that would

be inadmissible at trial. Rather, the news reports focused on relaying mainly evidence presented

at trial.”); Henderson v. Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991) (“[B]ecause we have found

[the defendant’s] confessions were admissible, the damage if any from the [pretrial] publicity is

negligible.”).

       The defendant further takes issue with media reports of statements by the Vice President

comparing January 6 to the attacks on Pearl Harbor and the World Trade Center. ECF No. 36 at

10-11. But harsh condemnation of a defendant’s actions is not uncommon in high-profile criminal

cases, and it does not suffice to establish prejudice. In Skilling, the news stories about the

defendant’s involvement in Enron’s collapse “were not kind,” but they “contained no confession

or other blatantly prejudicial information of the type readers or viewers could not reasonably be

expected to shut from sight.” Skilling, 561 U.S. at 382. And in Haldeman, although some of the

coverage of the Watergate scandal was “hostile in tone and accusatory in content,” the bulk of the

coverage “consist[ed] of straightforward, unemotional factual accounts of events and of the




                                                 24
         Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 25 of 33




progress of official and unofficial investigations.” Haldeman, 559 F.2d at 61. The D.C. Circuit

concluded that the coverage “was neither as inherently prejudicial nor as unforgettable as the

spectacle of Rideau’s dramatically staged and broadcast confession.” Id. The same is true here,

where news coverage has not reported on any confession or other blatantly prejudicial information

about the defendant Mr. Holdridge. And, again, statements by the Vice President are ordinarily

reported across the entire country, and exposure to these statements is hardly unique to

Washington, D.C.

         Further, the mere volume of news coverage is no basis for transferring venue, because even

“massive” news coverage of a crime does not require prejudice to be presumed. Haldeman, 559

F.2d at 61. And again, only a tiny percentage of the news coverage of January 6 has focused on

Brent John Holdridge himself (much, if not the overwhelming majority, of it in his home district

of Northern California). Unlike most cases involving pretrial publicity, where the news coverage

focuses on the responsibility of a single defendant (as in Rideau or Tsarnaev) or small number of

co-defendants (as in Skilling and Haldeman), the events of January 6 involved thousands of

participants and have so far resulted in charges against more than 800 people. The Court can guard

against any spillover prejudice from the broader coverage of January 6 by conducting a careful

voir dire and properly instructing the jury about the need to determine a defendant’s individual

guilt.

         And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)




                                                 25
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 26 of 33




(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)). As the Select Litigation

poll demonstrates, the number of potential jurors exposed to “[a] lot” of news coverage of January

6 differs only slightly between Washington, D.C. (33%) and Atlanta (30%). ECF No.36-2 at 14

(Question 8). Thus, the nature and extent of the pretrial publicity do not support a presumption of

prejudice.

       B.      Passage of time before trial

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, almost 18 months have

already elapsed since the events of January 6, and about two more months will elapse before trial.

This is far more than in Rideau, where the defendant’s trial came two months after his televised

confession. Rideau, 373 U.S. at 724. Although January 6 continues to be in the news, the “decibel

level of media attention [has] diminished somewhat,” Skilling, 561 U.S. at 383. And much of the

reporting continues to be national is scope, rather than limited to Washington, D.C. Indeed, the

defendant makes much of the fact that the House Select Committee recently has been broadcasting

its January 6 hearings on television, including during primetime hours. ECF No. 36 at 3-4, 9-10,

14. But those broadcasts are on national television and on the Internet. There is no basis to

conclude that viewers in D.C. are more affected by the broadcasts than are viewers in any other

part of the country. To the contrary, the national broadcasting of the House Select Committee’s

hearings undercuts the defendant’s contention that “another district” would be more sheltered from

media reporting on the events of January 6.




                                                26
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 27 of 33




       C.      The jury verdict

       Because Mr. Holdridge has not yet gone to trial, the final Skilling factor—whether the

“jury’s verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at

383—does not directly apply. But the fact that Skilling considered this factor to be “of prime

significance,” id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a

case should proceed to trial in the district where the crime was committed, and courts can examine

after trial whether the record supports a finding of actual or presumed prejudice. In short, none of

the Skilling factors support the defendant’s contention that the Court should presume prejudice and

order a transfer of venue without even conducting voir dire.

VI.    The Voir Dire Process in the First January 6 Jury Trials Has Demonstrated the
       Availability of a Significant Number of Fair, Impartial Jurors in the D.C. Venire.

       At this point, multiple January 6 cases have proceeded to jury trials, and the Court in each

of those cases has been able to select a jury without undue expenditure of time or effort. See

Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select jurors who

appear to be impartial is another factor relevant in evaluating those jurors’ assurances of

impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot be

selected, that fact should become evident at the voir dire”). Instead, the judges presiding over each

of those trials was able to select a jury in one or two days. See United States v. Reffitt, 21-cr-32,

Minute Entries (D.D.C. Feb. 28 and Mar. 1, 2022); United States v. Robertson, 21-cr-34-CRC,

Minute Entry (D.D.C. Apr. 5, 2022); United States v. Thompson, 21-cr-161, Minute Entry (D.D.C.

Apr. 11, 2022); United States v. Webster, No. 21-cr-208, Minute Entry (D.D.C. Apr. 25, 2022);

United States v. Hale-Cusanelli, 21-cr-37, Minute Entry (D.D.C. May 23, 2022). And the voir

dire in the first five jury trials undermines the defendant’s claim that prejudice should be




                                                 27
           Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 28 of 33




presumed. 4

           In Reffitt, the Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt Trial Tr. 521. The Court asked all the prospective

jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in this case” and whether

they had any “strong feelings or opinions” about the events of January 6 or any political beliefs

that it would make it difficult to be a “fair and impartial” juror. Reffitt Trial Tr. 23, 30. The Court

then followed up during individual voir dire. Of the 18 jurors that were struck for cause, only nine

(or 16% of the 56 people examined) indicated that they had such strong feelings about the events

of January 6 that they could not serve as fair or impartial jurors. 5

           In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson 4-11-22 Tr. 169, 171, 180, 189, 192. The court asked the entire

venire 47 standard questions, and then followed up on their affirmative answers during individual

voir dire. Id. at 3-4, 34. Of the nine prospective jurors struck for cause, only three (or about 9%

of those examined) were stricken based on an inability to be impartial, as opposed to some other

cause. 6


           4
          Because they remain restricted on PACER, the transcripts from the voir dire proceedings
in these cases are being submitted under separate cover to the Court and counsel.
           5
         For those struck based on a professed inability to be impartial, see Reffitt Trial Tr. 49-54
(Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046), 172-73 (Juror 443), 174-78 (Juror 45), 202-
09 (Juror 1747), 223-35 (Juror 432), 263-74 (Juror 514), 358-69 (Juror 1484). For those struck
for other reasons, see Reffitt Trial Tr. 168-172 (Juror 313, worked at Library of Congress), 209-
24, 281 (Juror 728, moved out of D.C.), 284 (Juror 1650, over 70 and declined to serve), 340-51
(Juror 548, unavailability), 382 (Juror 715, anxiety and views on guns), 398 (Juror 548, medical
appointments), 441-43 (Juror 1240, health hardship), 453-65 (Juror 464, worked at Library of
Congress), 465-81 (Juror 1054, prior knowledge of facts).
           6
         For the three stricken for bias, see Thompson 4-11-22 Tr. 52 (Juror 1242), 85 (Juror 328),
158 (Juror 999). For the six stricken for hardship or inability to focus, see id. at 43 (Juror 1513),
44 (Juror 1267), 49 (Juror 503), 40 (Juror 1290), 92 (Juror 229), 109 (Juror 1266).



                                                   28
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 29 of 33




       Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson Trial Tr. 302. The Court

asked all prospective jurors whether they had “such strong feelings” about the events of January 6

that it would be “difficult” to follow the court’s instructions “and render a fair and impartial

verdict.” Id. at 14. It asked whether anything about the allegations in that case would prevent

prospective jurors from “being neutral and fair” and whether their political views would affect

their ability to be “fair and impartial.” Id. at 13, 15. The Court followed up on affirmative answers

to those questions during individual voir dire. Of the 15 prospective jurors struck for cause, only

nine (or 18% of the 49 people examined) indicated that they had such strong feelings about the

January 6 events that they could not be fair or impartial. 7

       In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%).

Webster 4-26-22 AM Tr. 6, though it later excused one of those 35 based on hardship, Webster 4-

25-22 PM Tr. 217-18. The Court asked all prospective jurors whether they had “strong feelings”

about the events of January 6 or about the former President that would “make it difficult for [the

prospective juror] to serve as a fair and impartial juror in this case.” Webster 4-25-22 AM Tr. 19.

During individual voir dire, the Court followed up on affirmative answers to clarify whether

prospective jurors could set aside their feelings and decide the case fairly. See, e.g., id. at 32-33,

41-42, 54-56, 63, 65-66. Only 10 out of 53 prospective jurors (or about 19%) were stricken based




       7
          For those struck based on a professed inability to be impartial, see Robertson Trial Tr.
26-34 (Juror 1431), 97-100 (Juror 1567), 121-30 (Juror 936), 136-42 (Juror 799), 160-71 (Juror
696), 189-93 (Juror 429), 256-65 (Juror 1010), 265-68 (Juror 585), 287-92 (Juror 1160). For those
struck for other reasons, see Robertson Trial Tr. 23-26 (Juror 1566, hardship related to care for
elderly sisters), 83-84 (Juror 1027, moved out of D.C.), 156-60 (Juror 1122, language concerns),
193-96 (Juror 505, work hardship), 245-50 (Juror 474, work trip); 279-82 (Juror 846, preplanned
trip).


                                                  29
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 30 of 33




on a professed or imputed inability to be impartial, as opposed to some other reason. 8 The Webster

Court observed that this number “was actually relatively low” and therefore “doesn’t bear out the

concerns that were at root in the venue transfer motion” in that case. Webster, 4-26-22 AM Tr. 7.

       In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli Trial Tr. 226, 231. The Court asked prospective jurors questions

similar to those asked in the other trials. See id. at 72-74 (Questions 16, 20). Of the 15 prospective

jurors struck for cause, 11 (or 23% of those examined) were stricken based on a connection to the

events of January 6 or a professed inability to be impartial. 9

       In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430

prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of

petitioner.” Id. at 727. The percentage of partiality-based strikes in these January 6-related trials—

between 9% and 23% of those examined—is far lower than the 62% in Irvin. The percentage in

these cases is lower even than in Murphy, where 20 of 78 prospective jurors (25%) were “excused



       8
         Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See
Webster 4-25-22 AM Tr. 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68 (Juror 951), 78
(Juror 419); Webster 4-25-22 PM Tr. 102-04, 207, 217 (Juror 571), 188 (Juror 1114), 191 (Juror
176), 203-04 (Juror 1262). Of the ten other stricken jurors, three professed an ability to be
impartial but were nevertheless stricken based on a connection to the events or to the U.S.
Attorney’s Office. See Webster 4-25-22 AM Tr. at 58-60 (Juror 689 was a deputy chief of staff
for a member of congress); Webster 4-25-22 PM Tr. at 139-41 (Juror 625’s former mother-in-law
was a member of congress); 196-98 (Juror 780 was a former Assistant U.S. Attorney in D.C.).
       9
         See Hale-Cusanelli Trial Tr. 62 (Juror 499), 67-68 (Juror 872), 84-85 (Juror 206), 92-93
(Juror 653), 124-25 (Juror 1129), 152 (Juror 182), 156 (Juror 176), 182 (Juror 890), 197-98 (Juror
870), 217 (Juror 1111), 224 (Juror 1412). For the four jurors excused for hardship, see id. at 77-
79 (Juror 1524), 99 (Juror 1094), 132 (Juror 1014), 151 (Juror 899).


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        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 31 of 33




because they indicated an opinion as to petitioner’s guilt.” Murphy, 421 U.S. at 803. Murphy said

that this percentage “by no means suggests a community with sentiment so poisoned against

petitioner as to impeach the indifference of jurors who displayed no animus of their own.” Id. As

in Murphy, the number of prospective jurors indicating bias does not call into question the

qualifications of others whose statements of impartiality the Court has credited.

       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first few January 6-related trials have confirmed that voir dire can adequately screen out

prospective jurors who cannot be fair and impartial, while leaving more than sufficient qualified

jurors to hear the case. The Court should deny the defendant’s request for a venue transfer and

should instead rely on a thorough voir dire to protect the defendant’s right to an impartial jury.

VII.   A Jury Questionnaire Is Not Necessary in This Case.

       The defendant requests, in the alternative to a transfer of venue, that this Court use a jury

questionnaire (prepared by the defense) in selecting a jury. ECF No. 36 at 1. The Court should

deny that request. Although the Court has discretion to use a written questionnaire, it need not do

so because it can select an impartial jury using only in-person voir dire. 10 Issues of pre-trial

publicity and potential prejudice are more meaningfully explored by in-person examination than

by use of a jury questionnaire. “[W]ritten answers [do] not give counsel or the court any exposure

to the demeanor of the juror in answering the . . . questions.” Mu’Min, 500 U.S. at 425. A



       10
           Some judges in this District have used written questionnaires to aid in screening potential
jurors in particular cases. See, e.g., United States v. Stone, --- F. Supp. 3d ---, 2020 WL 1892360,
at *2-3 (D.D.C. Apr. 16, 2020); United States v. Lorenzana-Cordon, No. 03-CR-331, 2016 WL
11664054, at *1 (D.D.C. Feb. 22, 2016). And one judge has granted a request to use a
questionnaire in a January 6 trial that has not yet occurred. United States v. Alford, 21-cr-263,
ECF No. 46 at 15 (D.D.C. Apr. 18, 2022) (TSC). But the practice is not common in this District.
And judges in other January 6 cases have achieved the efficiency often served by questionnaires
by using a hybrid voir dire in which the court initially asks questions of the entire venire, with
prospective jurors noting their answers on notecards, followed by individual questioning.


                                                 31
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 32 of 33




prospective juror’s tone of voice and demeanor are important. See Rosales-Lopez, 451 U.S. at 188

(observing that the court “must reach conclusions” based on its “own evaluation[] of demeanor

evidence and of response to questions”). Indeed, “[h]ow a person says something can be as telling

as what a person says.” United States v. Jackson, 863 F. Supp. 1449, 1459 (D. Kan. 1994); see

also Mu’Min, 500 U.S. at 433 (O’Connor, J., concurring) (“A particular juror’s tone of voice or

demeanor might have suggested to the trial judge that the juror had formed an opinion about the

case and should therefore be excused.”). And even where a questionnaire is used, in-person

follow-up questioning is important to give the court the “face-to-face opportunity to gauge

demeanor and credibility.” Skilling, 561 U.S. at 395. A jury questionnaire would not materially

assist jury selection in this case, since there is no suggestion that this particular defendant has

received significant, unfavorable pretrial publicity, and any potential prejudice due to general

media coverage of the events of January 6, 2021 can be adequately probed through in-person voir

dire examination.




                                                32
        Case 1:21-cr-00729-RBW Document 38 Filed 06/21/22 Page 33 of 33




                                       CONCLUSION

       For the foregoing reasons, the defendant’s motion to transfer venue or for expanded

examination of prospective jurors should be denied.

                                                      Respectfully submitted,

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                                              33
